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                       UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WISCONSIN

TANYA CIHLAR,

                              Plaintiff,

vs.                                                           Case No.: 15-cv-560

CAROLYN COLVIN,
    Commissioner of Social Security,

                              Defendant.


                                    NOTICE OF APPEAL



       Notice is hereby given that Tanya Cihlar, by her attorney, Dana W. Duncan, Duncan
Disability Law, S.C. plaintiff in the above named case, hereby appeals to the United States
Court of Appeals for the Seventh Circuit, an order dated September 12, 2016 and the judgment
dated September 12, 2016 by Federal District Judge Barbara Crabb which affirmed the decision
of the Defendant, Carolyn Colvin, Commissioner of Social Security, denying plaintiff’s
application for disability insurance benefits under 42 U.S.C. §§ 216(i) and 223.
       Dated this 11th day of November, 2016.


                                                    DUNCAN DISABILITY LAW, S.C.
                                                    Attorneys for the Plaintiff


                                                    /s/ Dana W. Duncan
                                                    Dana W. Duncan
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